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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA ex rel.
  KATIE BROOKS and NANNETTE WRIDE,
                                             Case No. 2:15-cv-00119-JNP-EJF
                        Plaintiffs,
                                             United States’ Amended Complaint in
         vs.                                 Intervention

  STEVENS-HENAGER COLLEGE, INC.,             Judge Jill N. Parrish
  et al.,
                                             Magistrate Judge Evelyn J. Furse
                        Defendants.
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       Plaintiff, the United States of America, through its undersigned counsel and on behalf of

the United States Department of Education, brings this amended complaint against Defendants

Stevens­ Henager College, Inc. (Stevens-Henager) and the Center for Excellence in Higher

Education, Inc. (CEHE), doing business as Stevens-Henager College, for damages and penalties

under the False Claims Act, 31 U.S.C. §§ 3729-3733 (1986 and as amended in 2009), arising

from knowing violations of federal law prohibiting for-profit colleges from paying enrollment-

based incentive compensation to their recruiters. 20 U.S.C. § 1094(a)(20), in Title IV of the

Higher Education Act of 1965, as amended, 20 U.S.C. § 1070 et seq. Congress enacted the

prohibition on such incentive compensation to curtail the indiscriminate enrollment of

unqualified students, reduce the high student loan default rates that result from incentive-based

recruitment, and eliminate the waste of millions of dollars in federal student loans and grant

funds that occurs when students are cajoled for financial reasons to enroll in programs of

instruction that are not suited to their needs. (Unless otherwise specified, the Defendants are

collectively referred to herein as Stevens-Henager).

I.     INTRODUCTION

       1.      Plaintiff, the United States of America (United States) brings this action to

recover treble damages, civil penalties and costs under the False Claims Act, 31 U.S.C. §§ 3729-

33, and to recover damages and other monetary relief under the common law and equitable

theories of unjust enrichment and payment by mistake.

       2.      This action arises from false statements and claims that Stevens-Henager

knowingly presented to, or caused to be presented to, the United States Department of Education,

in violation of the False Claims Act and common law. Stevens-Henager falsely claimed that it

was in compliance with federal law prohibiting for-profit colleges from paying incentive-based




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compensation to their recruiters. Congress enacted the prohibition on such incentive

compensation to protect students from abusive enrollment tactics and save taxpayers from the

effects of wasted federal funds.

        3.        Stevens-Henager, which at all times relevant to this complaint was a for-profit

post-secondary educational institution, knowingly presented and/or made, or caused to be

presented or made, the false claims and statements at issue, in order to participate in the federal

student aid programs authorized pursuant to Title IV of the Higher Education Act (Title IV

programs). Title IV programs, which are administered by the United States Department of

Education, provide students with financial aid in the form of grants and loans issued or

guaranteed by the federal government. Stevens-Henager presented, made, and/or used numerous

false claims and statements in order to obtain and maintain eligibility to participate in Title IV

programs.

        4.        Pursuant to the False Claims Act and common law theories of payment by

mistake and unjust enrichment, the United States seeks to recover damages and civil penalties

arising from Stevens Henager's knowingly false, misrepresented, and/or improper certifications of

eligibility to the Department of Education for participation in its Title IV programs. From

approximately July 1, 2007 to July 1, 2011, Stevens-Henager knowingly submitted, or caused to be

submitted, numerous claims for payment to the Department of Education based upon these false

certifications.

        5.        From approximately July 1, 2007 to July 1, 2011, Stevens-Henager, and/or

students enrolled in its institutions, received millions of dollars of federal funds through Title IV

programs. The Higher Education Act's prohibition on incentive compensation bars

compensation based directly or indirectly on success in securing enrollments. 20 U.S.C. §




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1094(a)(20). During the period at issue in this complaint, a regulatory safe harbor permitted

incentive-based compensation based on student completions of an academic program. Stevens­

Henager's compensation system ostensibly rewarded its recruiters, called "admissions

consultants," on this basis, i.e., when their successfully-recruited students completed academic

programs. However, the availability and the amount of compensation per completion actually

depended on the number of students the consultant enrolled. A recruiter could double his or her

income by recruiting a large number of students, so long as a few graduated. Conversely, the

reward per student completion was reduced or entirely withheld if the consultant had not enrolled a

sufficiently high number of students.

        6.     With this lucrative incentive compensation program and constant performance

reminders to its recruiters, Stevens-Henager directly or indirectly encouraged its recruiters to

enroll anyone who was willing to apply for federal funds regardless of the student's likelihood of

success or ability to benefit from Stevens-Henager's educational programs. Stevens-Henager

wrongfully procured funding for its own benefit and abused the Title IV program's purposes.

Further, this irresponsible recruitment saddles unqualified students with large debts that are

difficult or impossible to repay, leading to defaults that ultimately cost the government millions

of dollars.

        7.     This compensation system, as designed and carried out, violated the Higher

Education Act's prohibition on incentive compensation because the reward was impermissibly

based on student enrollments. Because Stevens-Henager misrepresented to the federal

government its compliance with the Higher Education Act's Incentive Compensation Ban, the

federal government paid money to Stevens-Henager and its students that it would not have paid

had the federal government known the true facts. Thus, the federal government paid money to




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Stevens-Henager by mistake and Stevens-Henager was unjustly enriched.

        8.         Despite knowing that recruiter compensation may not be based on improper

enrollment incentives, Stevens-Henager created and carried out a compensation system that did

just that. Stevens-Henager falsely represented and certified to the federal government its

compliance with Title IV of the Higher Education Act and submitted or caused Stevens-Henager

students to submit claims for payment pursuant to Title IV programs. Stevens-Henager's conduct

thus violated the False Claims Act.

II.     JURISDICTION AND VENUE

        9.     This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C. §§

3730 and 3732.

        10.    This Court has personal jurisdiction over Stevens-Henager pursuant to 31 U.S.C.

§ 3732(a) because Stevens-Henager transacts business and is found in this District, and acts

proscribed by 31 U.S.C. § 3729 occurred in this District.

        11.    Venue is proper in this District pursuant to 31 U.S.C. § 3732(a), and under 28

U.S.C. §§ 1391(b) and 1395(a), because at all times relevant to this Complaint, Stevens­Henager

transacted business in this District and operated campuses in this District. Furthermore, acts that

form the basis of this Complaint occurred in this District.

III.    PARTIES

        12.    Plaintiff United States files this Complaint in Intervention pursuant to 31 U.S.C. §

3730(b)(4)(A), intervening on some but not all of the causes of action brought by Relators, and

against some but not all of the Defendants named by Relators.

        13.    Relator Katie Brooks is and was at all times relevant to this Complaint, a resident

and citizen of the State of Utah. From March 2009 to approximately March 2011, Ms. Brooks




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was one of the highest performing admissions consultants at Stevens-Henager's Orem, Utah,

campus. As an admissions consultant, Ms. Brooks became aware of Stevens-Henager's incentive

compensation practices for admissions consultants. During her employment at Stevens-Henager,

Ms. Brooks attended conferences in Las Vegas, Nevada. At the conferences, Stevens-Henager

conducted training for Stevens-Henager consultants from its campuses and affiliated schools in

Utah, Idaho, and other states. As a result of the training and materials distributed to all

consultants, Ms. Brooks understood that Stevens-Henager's incentive compensation practices

were institution-wide.

       14.     Relator Nannette Wride is and was at all times relevant to this Complaint, a

resident and citizen of the State of Utah. From July 2009 to June 2011, Ms. Wride worked at

Stevens-Henager's Orem, Utah campus as an admissions consultant as well as a part-time

executive assistant. In the various positions she held, Ms. Wride became aware of Stevens­

Henager’s incentive compensation practices for admissions employees. During her employment

at Stevens-Henager, Ms. Wride attended conferences in Las Vegas, Nevada. At the conferences,

Stevens-Henager conducted training for Stevens-Henager consultants from its campuses and

affiliated schools in Utah, Idaho, and other states. As a result of the training and materials

distributed to all consultants, Ms. Wride understood that Stevens-Henager's incentive

compensation practices were institution-wide.

       15.     Stevens-Henager College, Inc. was at all times relevant to this Complaint, a Utah

corporation with its principal place of business in Murray, Utah. At all times relevant to this

Complaint Stevens-Henager operated campuses in Boise, Idaho and Nampa, Idaho. It operated

Utah Campuses in Salt Lake City-Murray, Logan, Ogden, Layton, Lehi, Provo-Orem, and St.

George.




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       16.     CEHE is an Indiana nonprofit corporation with its principal place of business in

Murray, Utah at the same location as the former principal place of business of Stevens-Henager.

CEHE, doing business as Stevens-Henager College, became either the owner of or the successor in

interest to Stevens-Henager College, Inc. on or about December 31, 2012.

       17.     Until December 31, 2012, Stevens-Henager also owned, managed or operated

affiliated schools: (1) California College San Diego, Inc., a Utah corporation with its principal

place of business in Salt Lake City, Utah; (2) CollegeAmerica Denver, a Colorado corporation

with its principal place of business in Denver, Colorado; and (3) CollegeAmerica Arizona, Inc., a

Colorado corporation with its principal place of business in Flagstaff, Arizona and a campus in

Idaho Falls, Idaho. CEHE became either the owner of or the successor in interest to not only

Stevens-Henager but also its affiliated schools on or about December 31, 2012. Until

approximately 2013, Stevens-Henager and its affiliated schools collectively used

CollegeAmerica Services, Inc., to provide centralized management and operational support to

each of these schools. Upon information and belief, CEHE now provides the services that

CollegeAmerica Services, Inc. provided until 2013.

       18.     Carl Barney is the former sole shareholder of Stevens-Henager. The Carl Barney

Living Trust of Crystal Bay, Nevada is the sole or largest creditor of CEHE. This debt is

unsecured and registered with the Secretary of State in Cheyenne, Wyoming. The Carl Barney

Living Trust is also the owner of Anthem Properties LLC, which owns or manages the property

locations of various Stevens-Henager colleges in Utah and Idaho. Mr. Barney was at all times

relevant to this Complaint the chairman of Stevens-Henager and he controlled its operations,

policies and procedures. At all times relevant to this Complaint, CollegeAmerica Services was

also owned, managed, and operated by Carl Barney.




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IV.       FEDERAL STATUTORY BACKGROUND

          A.     The Federal False Claims Act

          19.    For violations occurring prior to May 20, 2009, the False Claims Act provides in

pertinent part that a person is liable to the United States government for each instance in which the

person "knowingly presents, or causes to be presented, to an officer or employee of the United

States government ... [a] false or fraudulent claim for payment or approval." 31 U.S.C. §

3729(a)(1)(1986).

          20.    For violations occurring on or after May 20, 2009, the False Claims Act, as

amended by the Fraud Enforcement and Recovery Act of 2009, provides in pertinent part that any

person who "knowingly presents, or causes to be presented, a false or fraudulent claim for

payment or approval" shall be liable to the United States government. 31 U.S.C. § 3729(a)(l)(A)

(2009).

          21.          The False Claims Act defines the term "claim" to mean:

          any request or demand, whether under a contract or otherwise, for money or
          property and whether or not the United States has title to the money or property,
          that (i) is presented to an officer, employee, or agent of the United States; or (ii) is
          made to a contractor, grantee, or other recipient, if the money or property is to be
          spent or used on the Government's behalf or to advance a Government program or
          interest, and if the United States Government (I) provides or has provided any
          portion of the money or property requested or demanded; or (II) will reimburse
          such contractor, grantee, or other recipient for any portion of the money or property
          which is requested or demanded....

31 U.S.C. § 3729(b)(2)(A) (2009).

          22.    The False Claims Act defines the terms "knowing" and "knowingly" to mean that a

person, with respect to information: (1) has actual knowledge of the information; (2) acts in

deliberate ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of

the truth or falsity of the information. 31 U.S.C. § 3729(b) (1986); 31 U.S.C. § 3729(b)(l)(A)




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(2009). The False Claims Act further provides that no proof of specific intent to defraud is

required. 31 U.S.C. § 3729(b) (1986); 31 U.S.C. § 3729(b)(l)(B) (2009).

V.     UNITED STATES' FACTUAL ALLEGATIONS

       A.      Eligibility for Title IV funding

       23.          Under Title IV of the Higher Education Act of 1965, 20 U.S.C. § 1070 et seq.

(HEA), Congress established various student loan and grant programs, including but not limited

to the Federal Pell Grant Program, the Federal Family Education Loan Program, and the Federal

Direct Loan Program (collectively "Title IV funding") to assist eligible students financially in

obtaining a post-secondary education.

       24.          Each Title IV funding program requires compliance with specific conditions as

a prerequisite to obtaining federal funds.

       25.          In order to become eligible to receive Title IV funding, a post-secondary

educational institution such as Stevens-Henager must first enter into a Program Participation

Agreement with the Department of Education. 20 U.S.C. § 1094(a); 34 C.F.R. § 668.14.

       26.     Each Program Participation Agreement expressly conditions a school's initial and

continuing eligibility to receive Title IV funding on compliance with specific statutory and

regulatory requirements, including 20 U.S.C. § 1094 and 34 C.F.R. § 668.14.

       27.     20 U.S.C. § 1094(a)(20) explicitly prohibits schools from providing "... any

commission, bonus, or other incentive payment based directly or indirectly on success in securing

enrollments or financial aid to any persons or entities engaged in any student recruiting or

admission activities or in making decisions regarding the award of student financial assistance...."

20 U.S.C. § 1094(a)(20) (Incentive Compensation Ban). Compliance with the Incentive

Compensation Ban is an express condition for the initial and continuing eligibility of schools to




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obtain Title IV funding. Id.

       28.     In each Program Participation Agreement, a school such as Stevens-Henager

certifies that "[t]he execution of this Agreement by the Institution and the Secretary is a

prerequisite to the Institution's initial or continued participation in any Title IV, HEA Program."

The Program Participation Agreements further state that a school's participation in Title IV

funding is "subject to the terms and conditions of this Agreement" and that:

       [b]y entering into this Program Participation Agreement, the Institution agrees that
       ... (22) It will not provide, nor contract with any entity that provides, any
       commission, bonus, or other incentive payment based directly or indirectly on
       success in securing enrollments or financial aid to any persons or entities engaged
       in any student recruiting or admission activities or in making decisions regarding
       the awarding of student financial assistance.

34 C.F.R. § 668.14(b)(22) (Incentive Compensation Regulations). (See Ex. A, 2007 Stevens­

Henager Program Participation Agreement, p.6, and Ex. B, 2010 Stevens-Henager Program

Participation Agreement, p.6.)

       29.     When Congress amended the Higher Education Act in 1992 to prohibit schools

from paying these incentives, it did so based on evidence of serious program abuses, including

those that resulted from the payment of incentive compensation. S. Rep. No. 58, 102d Cong., 1st

Sess., at 8 (1991) (Abuses in Federal Student Aid Programs) (noting testimony "that contests

were held whereby sales representatives earned incentive awards for enrolling the highest

number of students for a given period."); H.R. Rep. No. 447, 102d Cong., 2d Sess., at 10,

reprinted in 1992 U.S.C.C.A.N. 334, 343 (noting new provisions that "include prohibiting the

use of commissioned sales persons and recruiters"). Congress enacted the Incentive

Compensation Ban because payments that turned on recruitment were associated with high loan

default rates. These defaults cause a significant drain on program funds where the government

acts as a loan issuer or guarantor.



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       30.     In 2002, the Department of Education adopted the Incentive Compensation

Regulations accompanying the Incentive Compensation Ban to clarify, among other things, that

schools were permitted to pay a fixed compensation, such as a fixed annual salary or a fixed

hourly wage, as long as that compensation is not adjusted up or down more than twice during

any twelve month period. "Further, any adjustment must not be based solely on the number of

students recruited, admitted, enrolled, or awarded financial aid." 34 C.F.R.§ 668.14(b)(22)(ii)(A)

(Regulatory Safe Harbor A).

       31.     The 2002 Incentive Compensation Regulations also included a safe harbor

permitting schools to pay "[ c]ompensation that is based upon students successfully completing

their educational programs, or one academic year of their educational programs, whichever is

shorter." 34 C.F.R. § 668.14(b)(22)(ii)(E) (Regulatory Safe Harbor E).

       32.     In order to maintain its eligibility to receive Title IV funding, an educational

institution must provide the Department of Education with an annual compliance audit of its

administration of Title IV programs, and an audit of the institution's general purpose financial

statements, prepared by independent auditors. 20 U.S.C. § 1094(c)(l)(A); 34 C.F.R. §

668.23(a)(2) & (a)(4). For-profit educational institutions such as Stevens-Henager must conduct

their annual financial statements and compliance audits in accordance with the Department of

Education Office of Inspector General's Audit Guide. The Department of Education uses the

results of the compliance and financial audits to determine whether schools meet requirements for

Title IV funding, including observation of the Incentive Compensation Ban. As part of the

annual audits, Stevens-Henager was required to certify in writing that it complied with the

requirements for eligibility to participate in Title IV programs, including observation of the

Incentive Compensation Ban. (See Ex. C, Department of Education Audit Guide, at p. II-3.).




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Specifically, Stevens-Henager certified in its Required Management Assertions regarding

institutional eligibility and participation that it had "[n]ot paid to any persons or entities any

commission, bonus, or other incentive payment based directly or indirectly on success in securing

enrollments, financial aid to students, or student retention." 34 C.F.R. § 668.14(b)(22).

        33.     In June 2010, the Department of Education proposed to eliminate all of the

regulatory safe harbors, including Regulatory Safe Harbor A and Regulatory Safe Harbor E. The

Department of Education explained that the elimination of the safe harbors was necessary

"[s]ince [the adoption of the regulatory safe harbors], the Department's experience demonstrates

that unscrupulous actors routinely rely upon these safe harbors to circumvent the intent of section

487(a)(20) of the HEA." 75 Fed. Reg. 34816, 34817 (June 18, 2010). The Department of

Education concluded that "rather than serving to effectuate the goals intended by Congress

through its adoption of section 487(a)(20) of the [Higher Education Act], the safe harbors have

served to obstruct those objectives." Id.

        34.     In particular, the Department of Education observed that while many schools had

adopted compensation practices that complied with the regulatory safe harbors "on paper," "in

practice" those same schools had used compensation practices that directly violated the Incentive

Compensation Ban and failed to comply with both the letter and spirit of the safe harbor

provisions. Id. Stevens-Henager's conduct as described herein is an example of this type of overt

effort to circumvent the Incentive Compensation Ban.

        35.     The Department of Education promulgated final regulations eliminating the

regulatory safe harbors, including Regulatory Safe Harbor A and Regulatory Safe Harbor E, on

October 29, 2010, effective July 1, 2011. 75 Fed. Reg. 66832, 66873 (October 29, 2010); 34

C.F.R. § 668.14(b)(22) (2011).




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       36.     In particular, when eliminating Regulatory Safe Harbor E, the Department of

Education observed that there is a "proliferation of short-term, accelerated programs, and the

potential for shorter and shorter programs" and stated that, "we believe that the retention of the

current safe harbor can be readily exploited, and that it is not necessary for institutions to

appreciate the value of keeping students in school." 75 Fed. Reg. 66874 (October 29, 2010).

       37.     Subsequently, the Department of Education further highlighted its reasons for

eliminating Regulatory Safe Harbor E by stating, "retaining this safe harbor could contribute to

lower admissions standards, misrepresented program offerings, lowered academic progress

standards, altered attendance records, and a lack of meaningful emphasis on academic

performance and program quality....As a result, if the safe harbor were retained, in order for

recruiters to secure incentive compensation, they would likely need to enroll even more marginal

students, and make even greater unfounded claims about a program to increase the potential that

some will actually complete their program of instruction." 78 Fed. Reg. 17599 (Mar. 22, 2013.)

       B.      Claims for Payment under Title IV Programs

       38.     After a school becomes eligible to receive Title IV funding by entering into an

Agreement, it can make claims for payment in various ways. Under the Pell Grant and Federal

Direct Loan programs, for example, students submit requests for funding to the Department of

Education, directly or with the assistance of their schools. Under the Federal Family Education

Loan Program, which originated loans through June 2010, students and schools jointly submitted

requests to private lenders for loans. The Department of Education ultimately insured those

loans and paid the lenders in the event of a default by the student borrower.

       39.     With respect to all Title IV funding, the disbursement of federal funds rests on

required statements of eligibility schools make to the Department of Education that are necessary




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for requests for payment to be considered. For-profit schools are permitted draw up to 90% of

their revenue from Title IV funds.

        40.    For all Title IV funding, students who are interested in receiving federal student aid

must complete a "Free Application for Federal Student Aid," known as a "FAFSA."

               1.      Title IV Grant Programs

        41.    Under the Pell Grant program, which provides federal funds to assist post­

secondary school students in financial need, the student initiates the application process by

submitting a FAFSA to the Department of Education to have his or her expected family

contribution calculated in order to determine the amount of Pell Grant funds the student may be

entitled to receive based on family income and resources. 20 U.S.C. § 1070(a); 34 C.F.R.

§ 690.12(a). The student either sends the FAFSA directly to the Department of Education or

provides it to a school for the school to transmit to the Department of Education on the student's

behalf. 34 C.F.R. § 690.12(b).

        42.    The Department of Education sends the student's application information to the

student on a Student Aid Report and sends each school an Institutional Student Information

Record for that student. 34 C.F.R. § 690.13.

        43.    The school uses the above-described information to calculate the student's

eligibility for all aid and to assemble a financial aid award package for the prospective student.

The financial aid package may include Pell Grants, Direct Loans, or Campus-Based Aid (which

in turn includes Federal Supplemental Educational Opportunity Grants, Federal Work-Study, and

Federal Perkins Loans), as well as other scholarships or aid for which the student may be

eligible.

        44.    The student can accept all or part of the financial aid award package.




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       45.     If the student accepts a Pell Grant, a Direct Loan (for which the Department of

Education is the lender), or both a Pell Grant and a Direct Loan, the school creates an electronic

origination record that the school submits to a Department of Education computerized database

called the Common Origination and Disbursement System (COD). The origination record

includes student demographic data, the award or payment period, the award amount, and

disbursement dates and amounts. The COD database, in turn, links the information in the

origination record to the Department of Education's central processing system database, which

compares the information in the origination record to the information on the student's Student

Aid Report and Institutional Student Information Record.

       46.     Provided that the information submitted by the school is consistent with the

information possessed by the Department of Education, the Department of Education makes

funds available for the school to draw down electronically from a computerized system known as

G5, which is part of the Grants Management System.

       47.     Prior to drawing upon the federal funds, schools must electronically certify that

"by processing this payment request . . . the funds are being expended within three business days

of receipt for the purpose and condition of the agreement." This is known as a "G5 certification."

The agreement cited in this certification is the Program Participation Agreement.

       48.     In addition to the Pell Grants, the Department of Education also pays to the school

an annual administrative cost allowance of $5.00 for each student who receives a Pell Grant, to

be used to pay the costs of administering the Pell Grant and other Title IV student aid programs.

20 U.S.C. § 1096; 34 C.F.R. § 690.10.

               2.      Title IV Loan Programs

       49.     Under the Federal Family Education Loan Program, which includes subsidized




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and un-subsidized Stafford Loans, a guaranty agency makes the eventual claim for payment by

the United States. No new loans were made under this program after July 1, 2010. Prior to that

date, the school and student submitted an application to a private lender for a loan on behalf of

the student. If a student defaults in repaying a loan under the Federal Family Education Loan

Program, a state or private guaranty agency reimburses the lender or the subsequent holder of the

loan for the outstanding balance and takes assignment of the loan for collection action. 34

C.F.R. § 682.401(b)(14). If the guaranty agency is unable to collect from the borrower, the

Department of Education reimburses the guaranty agency for the loss it incurred in honoring the

defaulted claims. 20 U.S.C. § 1078(c)(l)(A). The Department of Education then may, in its

discretion, take assignment of the loan. 20 U.S.C. § 1078(c)(8). In this way, the government

ultimately satisfies claims for payment.

       50.     In order to participate in the Federal Family Education Loan Program or any other

Title IV loan program, as opposed to grant programs, a student completes a Master Promissory

Note and submits it to the educational institution. The institution, in turn, completes a School

Certification, in which it certifies the accuracy of the information it provides to the Department

of Education and the student's eligibility for the loan. 34 C.F.R. § 682.102. While the Master

Promissory Note is valid for ten years, the educational institution determines the student's

ongoing eligibility for aid and completes the School Certification annually.

       51.     Under the Federal Family Education Loan Program, the educational institution

submitted the Master Promissory Note to the lender. Upon approval by the lender, the lender

obtained a loan guarantee from a guarantee agency. 34 C.F.R. § 682.102. The lender made the

loan in reliance upon the accuracy of the information provided by the educational institution.

       52.     For loans under the Federal Family Education Loan Program, the lender




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transferred funds directly into the educational institution's account. Upon receiving these funds,

the educational institution credited a student's account for education-related expenses, such as

tuition, fees, books, and supplies.

       53.     For subsidized Stafford loans, the government paid the interest on the student's

behalf during the time the student was enrolled in school on at least a half-time basis, and during

the student's grace period before repayment commenced. 34 C.F.R. § 682.102(d)(2).

       54.     In the event of default on Federal Family Education Loans, the Department of

Education pays to the guarantee agency all or part of the unpaid principal and accrued interest, as

well as a variety of administrative costs. 34 C.F.R. § 682.404.

       55.     Stevens-Henager knowingly made or used false statements, certifications, and

claims regarding compliance with the Incentive Compensation Ban in order to become and

remain eligible to receive Title IV funding. Stevens-Henager's statements were false when made

or used, and caused the Department of Education to pay various claims under Title IV programs

including Federal Family Education Loans that it would not have paid had it known Stevens­

Henager paid incentive compensation based on student enrollments.

       C.      Stevens-Henager's Participation in Title IV Programs

       56.     At all times relevant, Stevens-Henager and its affiliated schools operated under

approved Program Participation Agreements.

       57.     On April 19, 2007, Vicky Dewsnup, as president of Stevens-Henager, signed the

Program Participation Agreement for Stevens-Henager institutions and certified that Stevens­

Henager complied with the Incentive Compensation Ban. (See Ex. A, p.15).

       58.     More recently, on January 21, 2010, Ms. Dewsnup also signed a Program

Participation Agreement on behalf of Stevens-Henager. (See Ex. B, p.14).




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        59.      In each Program Participation Agreement, Stevens-Henager certified that it would

"... comply with all statutory provisions of or applicable to Title IV of the Higher Education Act,

all applicable regulatory provisions prescribed under that statutory authority, and all applicable

special arrangements, agreements, and limitations entered into under the authority of statutes

applicable to Title IV." (See Ex. A, p. 4; Ex. B, p. 3)

        60.      Stevens-Henager further certified in each Program Participation Agreement that

"[i]t will not provide, nor contract with any entity that provides, any commission, bonus, or other

incentive payment based directly or indirectly on success in securing enrollments or financial aid

to any persons or entities engaged in any student recruiting or admission activities or in making

decisions regarding the awarding of student financial assistance...."(See Ex. A, p. 5 ¶ 22; Ex. B,

p.6 ¶ 22).

        61.      In addition to the certifications it made in its Program Participation Agreements,

Stevens-Henager also made, or caused to be made, additional certifications as part of its annual

compliance audits and as part of the student financial aid process. These certifications included,

but were not limited to, Required Management Assertions, G5 Certifications, Master Promissory

Notes, and their accompanying School Certifications.

        62.      Stevens-Henager submitted numerous claims for Title IV funding pursuant to its

2007 and 2010 Program Participation Agreements. These claims for payment purported to be

submitted on behalf of eligible students.

        63.      A student is only eligible if he or she is enrolled at an eligible institution. See 34

C.F.R. § 668.32(a) – (a)(1)(i) (“A student is eligible to receive Title IV, HEA program assistance

if the student . . . . [i]s a regular student enrolled . . . at an eligible institution.).

        64.      Each of these claims is required to be accompanied by the G5 Certification. In




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these G5 Certifications, Stevens-Henager expressly represented that “by processing this payment

request . . . the funds are being expended within three business days of receipt for the purpose

and condition of the agreement.” The “agreement” referred to in the G5 is the Program

Participation Agreement, the only agreement between Stevens-Henager and the Department of

Education.

        65.    Stevens-Henager’s G5 Certifications were false because Stevens-Henager failed

to disclose that it was violating the Incentive Compensation Ban. Because it was knowingly

violating the Incentive Compensation Ban, Stevens-Henager was not an eligible institution, thus

rendering the institution (and its students) ineligible for Title IV funds.

        66.    As a required part of its annual compliance audits, at all times relevant to this

Complaint, Stevens-Henager certified that it complied with the requirements for eligibility to

participate in Title IV programs, including compliance with the Incentive Compensation Ban.

        67.    From July 1, 2007, or earlier, through the last claims for the funding year ending

July 1, 2011, Stevens-Henager submitted numerous claims to the government for Title IV

funding that it knew to be false based upon its non-compliance with the Incentive Compensation

Ban.

        D.     Stevens-Henager's Compensation System for Admissions Consultants

        68.    At all times relevant, Stevens-Henager admissions consultants enrolled students

by developing leads. Stevens-Henager's call center and marketing campaigns generated many if

not most leads. In addition, the consultants obtained leads through various events, promotions,

and networking activities. Consultants also independently obtained leads. Consultants met with

the prospective students that the leads and referrals produced, either by phone or in person at

Stevens-Henager's campuses, and persuaded them to enroll.




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       69.     Stevens-Henager distributed manuals to admissions consultants that explained

Stevens-Henager's compensation system. (See Ex. D, 2006 manual; Ex. E, 2007 manual; Ex. F,

2008- 2009 manual; Ex. G, 2010-2011 manual.) Each manual sets forth examples of

compensation consultants can achieve by enrolling more students. (See e.g. Ex. E, pp. 45-48,

describing how more enrollments will boost completion compensation, which is "not part of

regular compensation").

       70.     In addition to the manuals, Stevens-Henager issued various types of directives to its

employees, including directives to the admissions department staff. These communications took

the form of "Procedure Directives" and "Information Letters."

       71.     In 2000, 2003 and 2004, Carl Barney, the former sole shareholder and chairman of

Stevens-Henager, issued Procedure Directive 85R to the Stevens-Henager admissions staff. (See

Ex. H). Mr. Barney issued Procedure Directive 85R again in 2007 to admissions consultants,

admissions directors and campus directors. (See Ex. I).

       72.     Procedure Directive 85R described new policies for "Admissions Consultant

Compensation." (See Exs. H and I). The 2007 version of Procedure Directive 85R based

completion bonuses on the average conversion rate (i.e., the number of prospective students the

consultant interviewed compared to the number of students the consultant actually enrolled) over

the three previous "modules" (i.e., an academic period of essentially one month and generally

comprising 3-4 credits).

       73.     Both versions of the Procedure Directives discussed Stevens-Henager's

"compensation plan based upon students who completed 36 credits and were thus likely to

graduate," and made explicit reference to Regulatory Safe Harbor E. (See Exs. H and I, pp. 1-2).

       74.     The 2007 Procedure Directive 85R also explained that each student who




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completed 36 credits entitled the consultant who enrolled that student to a "Completion

Certificate" if, and only if, the completing "student ha[s] a value at completion of 36 credits as

shown in Appendix One." (See Ex. I). The manual and the directives have continually

maintained that "completion" bonuses associated with the "[C]ompletion [C]ertificates are not

part of regular compensation." (See Ex. D, p. 4; Ex. E, p. 45; Ex. F, p. 28; Ex. G, p. 27; see also

Ex. I, p.6). The completion certificate assigns a value to the completion "based on the average of

the last three months." (See Ex. J).

       75.     "Appendix One" of the 2007 Procedure Directive 85R contains a chart of

completion bonus amounts varying according to each consultant's "average starts." (See, Ex. I,

p.8). These starts, or enrollments, were averaged over the three previous months. Thus, Stevens-

Henager based the value of completion bonuses on enrollments.

       76.     The top row of the Appendix One chart lists a criterion called "Intconversion%."

Stevens-Henager calculated "Intconversion%" by "[t]otal[ing] the last three modules' starts and

interviews" and dividing the total number of starts by the total number of interviews. (See Ex. I, p.

9).

       77.     The lowest value in the row is ">33%." There are no values for anything less than

33%. Thus, without converting at least this minimum percentage of interviewed leads into

enrolled students, a consultant could not receive the completion bonus.

       78.     The chart in Appendix One also demonstrates that potential compensation for

admission consultants was higher if the consultants' enrollments and conversion rates were

higher. Id.

       79.     The Appendix One chart contains a range of completion bonuses from $100 up to

$600 per student completion. The first column in the chart is titled "Packaged Starts." The lowest




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value shown in the row is five packaged starts. There are no values for student completion

bonuses if the consultant enrolled less than "5 starts."

       80.     Completion values were higher if consultants personally developed their own

leads ("non-campus center leads") and enrolled students from those leads who completed

academic programs. (See Ex. K, October 27, 2008 Information Letter). These higher

completion bonuses for independent leads still varied based on the number of enrollments and

the interview-to-enrollment rate, and they ranged from $500 to $3,000 or more per student. (See

Ex. I, Appendix Two).

       81.     Thus, according to the chart in Appendix One of Procedure Directive 85R, before a

consultant could receive a bonus for a completing student, the consultant had to (1) enroll at least

five students per module, and (2) convince at least one out of every three potential students he or

she met with to enroll in the school. Based on the compensation systems set forth in the

Procedure Directive, if a consultant failed to meet either of these two enrollment-related

requirements, the consultant was ineligible to receive a bonus, regardless of how many students

the consultant was responsible for starting who completed 36 credit hours.

       82.     Appendix One provided incentive for consultants to enroll as many students as

possible regardless of the ability of the student. A consultant who had an interview-to-start rate

greater than 50% was eligible to receive $600 per completing student. A consultant with a

conversion rate of only 33% received only $100 per completing student. A consultant with 20

completing students and an interview-to-start rate of 50% could receive a total of $12,000. A

consultant with the same number of completing students and a 33% conversion rate would

receive far less - only $2,000 according to the chart in Appendix One. Thus, the value of a

completion bonus depended much more upon enrollments than completions. Without the




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requisite enrollments, a completion certificate was worth nothing, fostering an environment

where the objective was to enroll every student possible.

        83.     The 2007 Procedure Directive 85R acknowledged that the incentive compensation

plan was designed to ensure that consultants "contribute to admissions goals." (See Ex. I,

Procedure Directive, p. 1). As such, it reflected a corporate culture that deliberately rewarded

enrollment of students above all else.

        84.     Stevens-Henager employed this bonus system at all of its campuses, requiring

consultants to meet an enrollment-related conversion rate in order to get a completion bonus. By

enrolling as many students as possible, a consultant could increase the value of a single

completion bonus by up to six times as much. This incentive directly and indirectly motivated

consultants to enroll as many students as possible, regardless of their qualifications or their

ability to derive any benefit from Stevens-Henager's programs.

        85.     When explaining its reasons for eliminating Regulatory Safe Harbor E, the

Department of Education stated as follows: "As the primary function of admissions

representatives is to serve as counselors, their primary goal should be to make sure that the

institution and program are a good fit for the student, and not to enroll the student if this is not the

case. A decision by a recruiter not to enroll a student should be considered every bit as valuable

to the institution as a decision to enroll the student, if, in fact, the student and the institution or

the program are not a good match." 78 Fed. Reg. 17599 (Mar. 22, 2013).

        86.     As previously set forth in this Complaint, Incentive Compensation Regulations

accompanying the Incentive Compensation Ban were adopted in 2002 to clarify that, under

Regulatory Safe Harbor A, schools may pay a fixed compensation, such as a fixed annual salary or

a fixed hourly wage, as long as that compensation is not adjusted up or down more than twice




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during any twelve month period, and any adjustment is not based solely on the number of

students recruited, admitted, enrolled, or awarded financial aid. 34 C.F.R. § 668.l4(b)(22)(ii)(A).

       87.     Because of the variation in values based on the conversion rate, Stevens-Henager's

completion certificates never provided for a fixed rate or hourly wage. Also, because these

bonuses were paid throughout the year, consultants could have their compensation adjusted more

than twice during a twelve-month period. For these reasons, these completion bonuses did not

fall within the purview of Safe Harbor A.

       88.     Further, because the completion certificates and bonuses were based on

enrollments, they did not fall within the purview of Safe Harbor E.

       89.     Consequently, until July 1, 2011, Stevens-Henager's compensation system, as it

was designed and implemented, violated the Incentive Compensation Ban and did not qualify for

protection under any Regulatory Safe Harbor.

       E.      Stevens-Henager's Knowing Violation of the Incentive Compensation Ban

       90.     At all times relevant to this Complaint, Stevens Henager offered condensed

programs in "modules" instead of years or semesters. As noted above, a module typically lasted

one month and consisted of three or four credit hours. One years' worth of an "academic

program" was equivalent to 36 credit hours.

       91.     Until July 2011, Stevens-Henager paid its admissions consultants bonuses when a

student whom a consultant enrolled had completed 36 credit hours, ostensibly under Safe Harbor E,

which allowed compensation based on completions of an "academic year."

       92.     In practice, however, Stevens-Henager calculated and paid these bonuses on a

"completion certificate" based not on a student's completion but based on the consultant's

conversion rate, which was based on enrollments.




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       93.     The completion certificate clearly stated that its value was "based on an average

of the past three months." (See Ex. J). This average referred to the conversion rate - i.e., success

in enrollments. (See Exs. H and I).

       94.     Without fulfilling the conversion rate, a consultant could not earn a bonus even if

a student completed 36 credit hours. Moreover, the higher an employee's conversion rate, the

higher the bonus. (See Ex. I).

       95.     By using the terms "completion certificate" and "completion bonus" Stevens-

Henager masked the true basis for the reward.

       96.     Indeed, the consultants' compensation was a result of Stevens-Henager's relentless

and exclusive focus on the number of new students a consultant succeeded in recruiting.

       97.     In Procedure Directive 85R and its manuals, Stevens-Henager acknowledged that

the payment of incentive compensation based directly or indirectly on enrollments was barred by

applicable regulations and accrediting standards. (See Ex. F, p. 33; Ex. I). These

acknowledgements demonstrate that Stevens-Henager knew that compensation practices

resulting in the payment of incentive compensation based directly or indirectly on student

enrollments was strictly prohibited.

       98.     While Stevens-Henager's written compensation plan appeared to invoke several

regulatory safe harbors, the completion certificate clearly stated that its value was based on the

average interview-to-enrollment conversion rate of the last three months (or modules). (See Ex. E,

2007 manual, pp. 40, 43; Ex. F, 2008-2009 manual, pp. 25 - 27, Ex. G, 2010-2011 manual, pp.

25 - 27, Exs. H and I, Procedure Directives). Thus, the payment was tied to enrollments in

violation of the Incentive Compensation Ban.

       99.     Stevens-Henager knew that its completion certificates were based on enrollments




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and that the Incentive Compensation Ban prohibited enrollment-based payments. It also knew

that Safe Harbor E allowed only "[c]ompensation of recruiters based on the number of students

successfully completing a program of study...." (See Ex. H).

       100.    At the time that Stevens-Henager stated in its Program Participation Agreements

and other documents that it would not make incentive payments based on success in securing

enrollments, Stevens-Henager knew that it was paying and planned to continue to pay

admissions consultants incentive payments based on the consultants' success in securing

enrollments.

       101.    Stevens-Henager made false certifications of compliance with the Incentive

Compensation Ban and of its eligibility for Title IV funding in its Program Participation

Agreements, compliance audit Management Assertions, GS Certifications, Master Promissory

Notes, School Certifications, and other documents.

       102.    Stevens-Henager knew that its misrepresentations regarding compliance with the

Incentive Compensation Ban would result in the payment of federal funds and that a reasonable

and foreseeable consequence of such misrepresentations was that the federal government would

pay out such funds.

       103.    Every request for a federal grant, a loan under the Federal Direct Loan Program, a

federally guaranteed loan under the Federal Family Education Loan Program, an interest

payment on a subsidized Stafford Loan and for Title IV funding made on behalf of a student

attending a Stevens-Henager institution constitutes a separate false claim.

       104.    Stevens-Henager's false certifications and statements caused the payments of

millions of dollars of loan and grant awards, as well as government repayments of loan interest or

defaulted loan principal. Stevens-Henager made these false certifications and statements despite




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the fact that it knew or should have known that they were false.

       F.      Stevens-Henager's Violation of the Incentive Compensation Ban Was
               Material Under The False Claims Act

       105.    The Incentive Compensation Ban is a condition of payment. The Higher

Education Act and its implementing regulations expressly condition a university’s “initial and

continuing eligibility” to receive Title IV funds on compliance with all applicable requirements,

including the Incentive Compensation Ban. See 20 U.S.C. § 1094(a); 34 C.F.R. § 668.14 (a)(1).

Thus, compliance with the Incentive Compensation Ban is an express prerequisite to an

institution’s initial and continued participation in Title IV programs under the statute,

regulations, and Program Participation Agreement. Stevens-Henager could not have executed

the Program Participation Agreement without promising to comply with the Incentive

Compensation Ban, and without a Program Participation Agreement, Stevens-Henager could not

have received any Title IV funds.

       106.    Another necessary precondition to Stevens-Henager’s ability to receive Title IV

funds are the G5 Certifications. In addition to executing the Program Participation Agreement,

Stevens-Henager is required to submit G5 Certifications with each funding request. As set forth

in Paragraphs 47 and 64 above, in the G5 Certifications, Stevens-Henager indicates its

compliance with “the purpose and condition” of the Program Participation Agreement. Thus,

each time that Stevens-Henager submitted a request to the Department of Education to receive

Title IV funds, Stevens-Henager certified its compliance with the Program Participation

Agreement.

       107.    Compliance with the Incentive Compliance Ban is an essential part of the bargain

that the Department of Education entered into when it allowed SHC to participate in Title IV

programs. A core reason for Congress’ adoption of the prohibition was to protect the public fisc.



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Congress recognized the pernicious influence of commissions when it enacted the incentive

compensation ban, specifically noting that its purpose was to ensure that Title IV funds were

disbursed to students who enrolled in institutions likely to meet their educational needs and who

could repay their loans. See, Abuses in Federal Student Aid Programs, S. Rep. No. 102-58,102d

Cong., 1st Sess., 1991 WL 153999, at *8 (May 17, 1991).

       108.    The Department of Education has also repeatedly emphasized the importance of

the Incentive Compensation Ban. “[T]he Secretary has seen evidence of lowered satisfactory

progress standards and in extreme cases, falsified attendance and leave of absence requests, all in

an effort to keep students enrolled. In many cases, these practices were designed by admissions

personnel who were duly paid after the student passed a retention mark. After that mark, the

students were dropped.” 59 Fed. Reg. 22,348, 22,377 (Apr. 29, 1994); see also 75 Fed. Reg.

34,806, 34,817 (June 18, 2010) (“[w]hen admission personnel are compensated substantially, if

not entirely, upon the numbers of students enrolled, the incentive to deceive or misrepresent the

manner in which a particular educational program meets a student’s need increases

substantially”).

       109.    A large portion of the compensation that Stevens-Henager paid to its recruiters

resulted from improper policies and practices that based compensation on student enrollments.

See supra, Sections V.D and V.E. Under the Defendants’ compensation plan, admissions

recruiters who secure a high number of enrollments can earn commissions large enough to raise

their compensation as much as six times as much as recruiters with low enrollment success. This

is a significant amount of remuneration that had the potential to influence recruiters in their

decisions about how and who to recruit.

       110.    Because compliance with the Incentive Compensation Ban is an important factor




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in a school’s initial and continuing eligibility to receive Title IV funding, the Department of

Education has taken corrective actions over violations of the Ban against other schools numerous

times. The Department of Education has revoked an institution’s provisional Program

Participation Agreement over a violation of the Ban on one occasion. The Department of

Education has imposed administrative fines (which function like a partial revocation of funds)

over violations of the Ban, whether through contested adverse action or via settlement of

administrative proceedings, on or about 27 other instances since 2002. The United States has

settled federal lawsuits over violations of the Ban on at least seven other instances since 2002.

       111.    The Department of Education is not aware of any instances where it has executed

a Program Participation Agreement to admit into Title IV eligibility a school that the Department

knew was violating (or intended to violate) the Incentive Compensation Ban.

VI.    COUNTS

            COUNT I: VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

                                  31 U.S.C. § 3729(a)(1) (1986)

       112.    The United States re-asserts all previous allegations as if set forth herein.

       113.    From approximately July 1, 2007 to May 20, 2009, Stevens-Henager knowingly

presented or caused to be presented false or fraudulent claims to the United States for payment,

in violation of the False Claims Act, 31 U.S.C. § 3729(a)(l) (1986). Specifically, Stevens-

Henager knowingly submitted or caused to be submitted to the Department of Education, false

representations regarding compliance with the requirements of Title IV of the Higher Education

Act, its Program Participation Agreements and annual financial and compliance audits as well as

in student loan and grant applications. Stevens-Henager submitted these false representations in

order to obtain eligibility to participate in Title IV funding programs and receive Title IV




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funding. However, Stevens-Henager's compensation system was not compliant with Title IV

funding requirements. Although Stevens­Henager paid compensation to its admissions

consultants based on completion certificates, the reward was impermissibly conditioned on the

consultants' enrollment success (conversion rate and starts) during the three months or modules

prior to the student completion. In submitting or causing the submission of certifications and

applications suggesting otherwise, Stevens-Henager acted with actual knowledge, reckless

disregard, or deliberate ignorance of the truth or falsity of the claims.

        114.    Stevens-Henager made express representations in writing to the Department of

Education that it would not make incentive payments to its admissions personnel based directly or

indirectly on their success in securing enrollments. These representations induced the

Department of Education to make students at Stevens-Henager colleges eligible for many forms of

financial aid. These representations were material to the Department of Education's decision to

make Stevens-Henager eligible for these financial aid programs. When Stevens-Henager made

these representations, it knew that these representations were false, and would continue to be false,

because Stevens-Henager was paying its admissions personnel incentive payments based on their

success in securing enrollments. Therefore, Stevens-Henager fraudulently induced the

Department of Education to make Stevens-Henager eligible to participate in Title IV funding, and

each and every one of the claims it submitted or caused a student to submit violated the False

Claims Act.

        115.    Having attained eligibility to participate in the Title IV funding programs by

making false or fraudulent statements concerning its compliance with the Incentive

Compensation Ban, Stevens-Henager’s subsequent requests for payment for Title IV funds

constitute false or fraudulent claims for payment within the meaning of 31 U.S.C. § 3729(a)(1)




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(1986), under a theory of promissory fraud.

       116.    Compliance with the Incentive Compensation Ban was mandatory and material to

the government's decision to make Stevens-Henager eligible for Title IV funding. When

Stevens-Henager submitted requests for payment of Title IV funds, it also submitted G5

Certifications which represented that Stevens-Henager was eligible to receive Title IV funds.

However, because Stevens-Henager’s compensation system was not compliant with Title IV

funding requirements, Stevens-Henager was not eligible to receive Title IV funds. Thus, under

theories of express or implied certification, Stevens-Henager knowingly submitted false claims

for student financial aid and caused students to submit claims for and receive student financial

aid to which neither the students nor the schools were entitled.

       117.    By virtue of these false or fraudulent claims, the United States suffered damages in

an amount to be determined at trial.

          COUNT II: VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

                                 31 U.S.C. § 3729(a)(l)(A) (2009)

       118.    The United States re-asserts all previous allegations as if set forth herein.

       119.    From approximately May 20, 2009 to July 1, 2011, Stevens-Henager knowingly

presented or caused to be presented false or fraudulent claims to the United States for payment, in

violation of the False Claims Act, 31 U.S.C. § 3729(a)(l)(A) (2009). Specifically, Stevens-

Henager knowingly submitted or caused to be submitted, false representations regarding

compliance with the requirements of Title IV of the Higher Education Act, its Program

Participation Agreements and annual financial and compliance audits as well as in student loan

and grant applications. Stevens-Henager submitted these false representations in order to obtain

eligibility to participate in Title IV funding programs and to receive Title IV funding. In fact,




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Stevens-Henager's compensation system was not compliant with Title IV of the Higher

Education Act and its associated safe harbor regulations. In practice, the compensation Stevens-

Henager paid to its admissions consultants upon student completions was impermissibly based

on the consultants' enrollment success (conversion rate) during the three months or modules prior

to the student completion. In submitting, or causing to be submitted, such certifications and

applications, Stevens-Henager acted with actual knowledge, reckless disregard, and deliberate

ignorance of the truth or falsity of the claims.

       120.          Stevens-Henager made express representations in writing to the Department

of Education that it would not make incentive payments to its admissions personnel based

directly or indirectly on their success in securing enrollments. These representations induced the

Department of Education to make students at Stevens-Henager colleges eligible for many forms of

financial aid. These representations were material to the Department of Education's decision to

make Stevens-Henager eligible for these financial aid programs. At the time Stevens-Henager

made these representations, it knew that these representations were false, and would continue to

be false, because Stevens-Henager was paying its admissions personnel incentive payments

based on their success in securing enrollments. Therefore, Stevens-Henager fraudulently induced

the Department of Education to make Stevens-Henager eligible to participate in Title IV funding,

and each and every one of the claims it submitted or caused a student to submit violated the False

Claims Act.

       121.    Having attained eligibility to participate in the Title IV funding programs by

making false or fraudulent statements concerning its compliance with the Incentive

Compensation Ban, Stevens-Henager’s subsequent requests for payment for Title IV funds

constitute false or fraudulent claims for payment within the meaning of 31 U.S.C. §




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3729(a)(1)(A) (2009), under a theory of promissory fraud.

       122.      Compliance was mandatory and material to the government's decision to make

Stevens-Henager eligible for Title IV funding. When Stevens-Henager submitted requests for

payment of Title IV funds, it also submitted G5 Certifications which represented that Stevens-

Henager was eligible to receive Title IV funds. However, because Stevens-Henager’s

compensation system was not compliant with Title IV funding requirements, Stevens-Henager was

not eligible to receive Title IV funds. Thus, under theories of express or implied certification,

Stevens-Henager knowingly submitted false claims for student financial aid and caused students

to submit claims for and receive student financial aid to which neither the students nor the schools

were entitled.

       123.      By virtue of these false or fraudulent claims, the United States suffered damages in

an amount to be determined at trial.



           COUNT III: UNITED STATES PAYMENT BY MISTAKE OF FACT

       124.      This is a claim for recovery of monies paid by the United States to Stevens­

Henager by mistake.

       125.      The United States re-asserts all previous allegations as if set forth herein.

       126.      Because Stevens-Henager's compensation system paid bonuses impermissibly

based upon enrollments, Stevens-Henager's compensation system violated the Incentive

Compensation Ban of the Higher Education Act and did not come within the purview of any Safe

Harbor.

       127.      The United States, acting in reasonable reliance on the accuracy and truthfulness of

the information contained in the claims, paid to Stevens-Henager certain sums of money to




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which they were not entitled. Stevens-Henager is thus liable to account for and pay such

amounts, which are to be determined at trial, to the United States.

                              COUNT IV: UNJUST ENRICHMENT

          128.   This is a claim for the recovery of monies by which Stevens-Henager has been

unjustly enriched.

          129.   The United States re-asserts all previous allegations as if set forth herein.

          130.   As described above, Stevens-Henager received, and/or has continued to maintain

control over, federal monies to which it was not entitled.

          131.   By directly or indirectly obtaining federal funds to which they were not entitled,

Stevens-Henager was unjustly enriched and is liable to account for and pay such amounts, or the

proceeds therefrom, which are to be determined at trial, to the United States.

VII.      PRAYER FOR RELIEF

          WHEREFORE, the United States demands and prays that judgment be entered in its favor

against Stevens-Henager, as follows:

          1.     On Counts I and II, under the False Claims Act, for triple the amount of the

United States' damages plus interest and such civil penalties as are allowable by law, together

with the costs of this action and such other and further relief as may be just and proper;

          2.     On Count III, for payment by mistake of fact, for the damages sustained, plus pre-

judgment and post-judgment interest, costs, and all such further relief as may be just and proper;

          3.     On Count IV, for unjust enrichment, for the amount of unjust enrichment, plus

pre-judgment and post-judgment interest, costs, and all such further relief as may be just and

proper;

          4.     That judgment be entered in favor of the United States and against Stevens-




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Henager for actual damages, pre-judgment and post-judgment interest, litigation costs, and an

accounting, to the fullest extent as allowed by law, and for such further relief as may be just and

proper.

VIII. JURY DEMAND

          The United States requests a trial by jury with respect to all issues so triable.




DATED this 4th day of May, 2018.

                                                 Respectfully submitted,


                                                 CHAD A. READLER
                                                 Acting Assistant Attorney General

                                                 JOHN W. HUBER, Utah Bar #7226
                                                 United States Attorney


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                                 CERTIFICATE OF SERVICE



           I HEREBY CERTIFY that on May 4, 2018, the foregoing UNITED STATES'

AMENDED COMPLAINT IN INTERVENTION was electronically filed with the Clerk of the

Court using the CM/ECF system, which sent a Notice of Electronic Filing to counsel for all

parties.




UNITED STATES' COMPLAINT IN INTERVENTION-33
